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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION



LA UNIÓN DEL PUEBLO ENTERO, et al.,

               Plaintiffs,
                                                              CIVIL ACTION NO.
v.                                                               5:21-cv-844-XR
                                                         [Consolidated Action: Lead Case]
STATE OF TEXAS, et al.,

               Defendants.


HARRIS COUNTY REPUBLICAN PARTY,
et al.,

               Intervenor-Defendants.



                   LUPE PLAINTIFFS’ OPPOSED MOTION TO
               STRIKE THE DECLARATION OF JONATHAN WHITE
            AND MOTION IN LIMINE TO EXCLUDE TESTIMONY ABOUT
           NON-PUBLIC INFORMATION RELATING TO INVESTIGATIONS
               AND PROSECUTIONS OF ALLEGED VOTER FRAUD

       Plaintiffs La Unión del Pueblo Entero, et al. (“LUPE Plaintiffs”)1 file this motion to strike

the declaration of Jonathan White submitted by State Defendants (“the State”) with its briefs in

opposition to the motions for summary judgment of the United States and the OCA Plaintiffs. See

Dkts. 645-5 at 14-23 and 646-3 at 29-38 (same document). LUPE Plaintiffs further move, in

limine, to exclude the testimony of Mr. White, and any other witnesses, that is based on information



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  LUPE Plaintiffs are La Unión del Pueblo Entero, Friendship-West Baptist Church, Southwest Voter
Registration Education Project, Texas Impact, Mexican American Bar Association of Texas, Texas
Hispanics Organized for Political Education, Jolt Action, William C. Velasquez Institute, FIEL Houston
Inc., and James Lewin.



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that is not publicly available about investigations and prosecutions of alleged voter fraud—

information the State withheld or otherwise failed to produce in discovery. Mr. White is the former

Division Chief of OAG’s Election Integrity Division. See Dkts. 645-5 at 14 and 646-3 at 29.

       As Mr. White recently acknowledged, his testimony in his declaration relies on information

from investigative and prosecution files and out-of-court statements by other individuals at the

Office of the Attorney General (“OAG”)—all information that the State has previously withheld

and, in many instances, failed even to identify. Mr. White also offers summary testimony without

providing any of the information underlying his declaration. And because Mr. White’s testimony

is largely not based on his personal knowledge and first-hand observations, his testimony is expert

in nature and was not properly disclosed as such. To the extent that Mr. White, or any other State

witness, plans to offer trial testimony that is, like Mr. White’s declaration, based on information

from investigative and prosecution files and out-of-court statements withheld or otherwise not

produced by the State, that trial testimony should be excluded.

       Because the State limited witness testimony to publicly available information about: OAG

investigations, OAG prosecutions, or investigations by the Office of the Secretary of State (“SOS”)

related to alleged voter fraud, and the State relied on claims of investigative and other privileges

to limit its document production in similar fashion, Mr. White—or any other witness—should not

be permitted to testify outside those bounds, either by declaration or at trial. For these and the

other foregoing reasons, LUPE Plaintiffs respectfully request that the Court strike from the record

the portions of Mr. White's declaration redacted in Exhibit A (see Dkts. 645-5 at 14-23 and 646-3

at 29-38) and exclude testimony by Mr. White or any other State witness about non-public

information regarding investigations or prosecutions of alleged voter fraud.

                                      I.    BACKGROUND




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       This case involves a challenge by LUPE Plaintiffs to SB1, a 2021 law that makes

significant changes to how Texas voters cast ballots in elections.

       On June 24, 2023, long after the close of discovery and just two and a half months before

trial, State Defendants filed a declaration of Jonathan White in support of their responses in

opposition to the motions for summary judgment filed by the United States and OCA Plaintiffs.

Mr. White's declaration, executed June 22, 2023, purported to provide evidence on three topics:

the existence, prevalence and techniques of various types of voter fraud, including "mail ballot

fraud and voter assistance fraud schemes"; the inability of current investigative techniques to

address voter fraud; and the ways in which SB1 assists in fighting voter fraud. See Dkts. 645-5 at

14-23 and 646-3 at 29-38.

       On August 11, 2023, the State filed an advisory in which it identified, among other things,

its witnesses for trial and the subject of their testimony. Dkt. 709. The State listed Mr. White as

a witness, and indicated that it planned “on questioning Mr. White about election integrity,

election-related investigations and prosecutions, vulnerabilities to fraud in Texas elections, and the

Senate Bill 1’s impact on these vulnerabilities.” Id.

       The State also listed SOS witnesses whom it intends to question about similar topics. For

example, the State listed as a witness Keith Ingram, who was the SOS Director of Elections while

SB1 was implemented. Id. According to the State, Mr. Ingram will testify about, among other

things, “election administration in Texas, generally; policies, practices, and procedures governing

Texas elections;” “election integrity; the 2020 General Election;” and “the implementation and

effects of Senate Bill 1[.]” Id.

           A. The State Consistently Withheld and Failed to Identify Non-public
              Information Relating to Voter Fraud Investigations and Prosecutions.




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       From the start of discovery, the State withheld, on privilege grounds, documents containing

non-public information relating to voter fraud investigations and prosecutions. The State also

failed to identify on its privilege logs responsive documents that contained similar information. In

depositions, the State objected to, and instructed witnesses not to answer, questions seeking non-

public information relating to voter fraud investigations and prosecutions.

       On November 15, 2021, the State filed its initial disclosures. Dkt. 112-1. In those

disclosures, the State identified Jonathan White as an individual likely to have discoverable

information that the State may use to support its defenses. Id. at 18. Those disclosures stated, in

relevant part:

       Mr. White is the Chief of the Office of the Attorney General of Texas, Elections
       Integrity Division. He also testified before the Legislature during the consideration
       of S.B.1. He may have discoverable information on the claims and defenses at
       issue in this case. He may have information regarding election-related
       investigations and prosecutions, to the extent those materials are not privileged.

       Id.

       On November 29, 2021, Private Plaintiffs served their First Set of Requests for Production

(“First RFPs”) on the Attorney General. Ex. B. Private Plaintiffs sought, among other things,

“[a]ll documents and communications discussing actual or alleged illegal voting, election fraud,

or other criminal conduct in connection with” all methods of voting “during the period from 2016

to present.” Id. at 10 (RFP 8). Private Plaintiffs also sought “[a]ll documents and communications

regarding actual or alleged illegal voting, election fraud, or other criminal conduct in connection

with voter assistance, including transportation assistance and vote harvesting, during the period

from 2016 to present.” Id. at 11 (RFP 10).

       On December 29, 2021, the State served its Objections and Responses to Private Plaintiffs’

First RFPs to the Attorney General. Ex. C. With respect to RFPs 8 and 10, the State objected “to




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the extent that” the requests call “for the production of full investigative and prosecution case

files,” noting that, “[s]ince 2016, OAG has investigated hundreds of alleged incidents of election

misconduct, each of which is assigned a case file that can span thousands of pages.” Id. at 18, 21.

The State asserted that “the release of non-public information related to these case files could have

severe consequences on OAG’s ability to safeguard the election and identify and prosecute illegal

conduct.” Id. The State then indicated that it would not produce “full case files,” and instead

would “produce OAG’s prosecution spreadsheet, which details resolved and pending prosecutions,

including the name of the defendant, location of the offense, the election involved, the type of

conduct alleged, and the charges brought.” Id. at 19; see also id. at 21 (stating that “much of the

information relevant to Private Plaintiffs’ claims can be obtained from OAG’s prosecution

spreadsheet, which details OAG’s resolved and pending prosecutions”). Further, the State also

raised objections based on, among other things, the “investigative privilege, deliberative process

privilege, attorney-client privilege,” and work product doctrine. Id. at 19, 21.

        On December 30, 2021, the State produced a spreadsheet purportedly listing resolved and

pending prosecutions by OAG regarding alleged election fraud. See Ex. D. The State produced

similar lists on the following dates, purportedly providing updated information about OAG’s

resolved and pending prosecutions: April 26, 2022 (Ex. E) and September 13, 2022 (Ex. F and

Ex.G). No further spreadsheets of resolved and pending prosecutions were produced after

September 13, 2022.2

        On April 27, 2022, Plaintiffs deposed Mr. White in his personal capacity. Ex. J. Following

numerous objections by OAG counsel, the parties stipulated that OAG counsel could have a

running objection and OAG counsel “instruct[ed]” Mr. White “not to provide any answers that


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  The State also produced a list of complaint referrals from the SOS and a list of instances of "suspected
illegal voting" on May 5, 2022 and August 31, 2022 respectively. Ex. H and Ex. I.


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would encroach on attorney client, attorney work-product, legislative or investigative privileges,

or any other applicable privilege, including deliberative process or any others that . . . could

conceivably be implicated by the questions.” Id. at Tr. 43:20-44:21.

       OAG counsel asserted privilege objections 29 times over the course of the deposition. See

generally, Id. Pursuant to that instruction, Mr. White censored his answers throughout the

deposition to avoid discussing, among other things, information related to investigative practices

and information that was not public. See, e.g., id. at Tr. 89:9-23 (“Without going into our mental

impressions and our investigative practices, I guess I could say we have prosecuted vote harvesting

cases in the past.”); 228:16-229:5 (“I'm not able to discuss any investigations that -- that are not

public.”)

       . On May 5, 2022, Plaintiffs deposed Mr. White in his capacity as a representative of the

Office of the Attorney General. Ex. K. As in the April 27, 2022 deposition, OAG counsel lodged

similar privilege objections and in several instances instructed Mr. White not to answer.       See

generally id. (listing 87 objections). And, as in his prior deposition, Mr. White followed his

counsel’s instruction and refrained from providing information about specific investigations and

non-public information regarding investigations and prosecutions. See, e.g.. Id. at Tr. 63:5-23 (“I

can’t think of any non-privileged answer to that question. I have to follow the advice of counsel .

. .”), 97:21-24 (“Without getting into any specific details subject to privilege, we have opened

investigations as a result of information received from election officials regarding ineligible

voting.”).

       Indeed, when Plaintiffs’ counsel asked Mr. White specifically about evidence he typically

finds in an assistance fraud case, OAG counsel objected on the grounds of “attorney work product,

attorney/client privilege or investigative privilege” and instructed Mr. White not to answer unless




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he could avoid those privileges. Id. at Tr. 177:3-10. Mr. White followed that instruction and

responded, “One thing we normally try not to do is to discuss openly matter -- investigative

methods.” Id. at Tr. 177:3-12. When pressed again, Mr. White similarly limited his answer and

responded only generically, “Typically it will be a combination of things, but it will rely heavily

on testimony of the victim.” Id. at Tr. 177:13-179:8.

       In response to Private Plaintiffs’ First RFPs, the State produced some responsive

documents over the course of discovery. All of these documents, in the State’s characterization,

reflect publicly available information. See, e.g., Dkt. 650 at 2-3. In connection with its production

responsive to Private Plaintiffs’ First RFPs, the State served a privilege log on July 12, 2022, Ex.

L, and amended that log on August 8, 2022, Ex. M (the “August 2022 Privilege Log”). The August

2022 Privilege Log lists two entries withheld by the Office of the Attorney General. See Id. at 54.

       On February 15, 2023, LUPE Plaintiffs served their Second Set of Requests for Production

to Defendant Kenneth Paxton (“Second RFPs”). Ex. N. LUPE Plaintiffs requested, among other

things, “[a]ll documents, including but not limited to communications, related to actual, suspected

or alleged election fraud, illegal voting, and other criminal conduct related to the 2022 General

Election” in Dallas County (RFP 27), El Paso County (RFP 30), Hidalgo County (RFP 33), and

Travis County (RFP 36). Id. at 9, 10. LUPE Plaintiffs also sought all documents exchanged

between or among the Office of the Attorney General, “any Texas county, and/or the Office of the

Texas Secretary of State related to criminal conduct that has or may have occurred in connection

with the 2022 General Election[.]” Id. at 10 (RFP 37).3 On March 17, 2023, the State served its

objections to LUPE Plaintiffs’ Second RFPs to the Attorney General, asserting objections to RFPs


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  In addition, LUPE Plaintiffs sought all documents in possession of OAG that “related to the Texas
Secretary of State’s determination that possible criminal conduct in connection with the 2022 General
Election occurred.” Ex. N at 10 (RFP 38).



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27, 30, 33, 36, and 37 that were similar to the objections the State asserted against RFPs 8 and 10.

Ex.O at 5-7, 8-9, 12-14.        The State again indicated that it would withhold “non-public

information,” and noted that it “considers any documents related to its investigative and

prosecution case files to be privileged, unduly burdensome, and not proportional to the needs of

the case.” See, e.g., id. at 6 (RFP 27).

        In connection with LUPE Plaintiffs’ Second RFPs, the State served a privilege log listing

documents withheld by the Office of the Secretary of State on May 12, 2023, Ex. P, and served a

privilege log listing documents withheld by the Office of the Attorney General on May 19, 2023,

Ex. Q. These privilege logs were the subject of LUPE Plaintiffs’ June 24, 2023 motion to compel,

Dkt. 630, which the Court granted in part and denied in part in its order on July 31, 2023, Dkt.

694.4

        Over the course of discovery, the State produced fewer than 500 documents associated with

OAG custodians, and identified approximately 180 privileged documents held by OAG. Two

produced documents are investigation files. The remainder of the produced documents are largely

public information, including news articles, copies of public indictments or plea agreements,

public legislative transcripts, complaints of purported election irregularities submitted to the

Secretary of State and the OAG, and Secretary of State advisories to election administrators.

        Similarly, On November 29, 2021, Private Plaintiffs served their First Set of Requests for

Production (“First RFPs”) on the Secretary of State. Ex. R. Private Plaintiffs sought, among other

things, “[a]ll documents and communications discussing actual or alleged illegal voting, election

fraud, or other criminal conduct in connection with” all methods of voting “during the period from


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 The parties identified 198 documents for the Court’s review of LUPE Plaintiffs’ June 24, 2023 motion to
compel. See Dkt. 667-2. The Court ultimately ordered the production of 51 of these documents. See Dkt.
694.



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2016 to present.” Id. at 10 (RFP 8). Private Plaintiffs also sought “[a]ll documents and

communications regarding actual or alleged illegal voting, election fraud, or other criminal

conduct in connection with voter assistance, including transportation assistance and vote

harvesting, during the period from 2016 to present.” Id. at 11 (RFP 10). On December 29, 2021,

the State served its Objections and Responses to Private Plaintiffs’ First RFPs to the SOS. Ex. S.

With respect to RFPs 8 and 10, the State objected “to the extent that it calls for the production of

documents that” the “Texas SOS determines that there is reasonable cause to suspect that the

alleged criminal conduct occurred…[t]he release of information related to these complaints could

compromise and endanger the Attorney General’s investigation to the extent it remains ongoing.

Defendant therefore considers any documents related to open investigations and prosecutions to

be privileged[.]” Id. at 16, 19. The SOS did not produce closed case files.

       On April 28, 2022, Plaintiffs deposed Keith Ingram, SOS Elections Director, in his

personal capacity. Ex. T. When Plaintiffs’ counsel questioned Mr. Ingram about specific

examples of fraud, Mr. Ingram refused to discuss the “particulars because [the cases] are over with

the Attorney General and they are not public record [sic] under 31.006[.]” Id. at 147:11-23 During

his testimony, Mr. Ingram described an “election complaint log” kept by the SOS. See Id. at Tr.

148:20-149-22. When Plaintiffs’ counsel inquired if this election complaint had been produced to

the plaintiffs in discovery, Mr. Ingram responded, “I would be surprised if it had.” Id. at Tr. 149:5-

6.

       Mr. White’s June 22, 2023 Declaration

       On June 24, 2023, the State filed its responses in opposition to the United States’ motion

for summary judgment, Dkt. 645, and to OCA Plaintiffs’ motion for summary judgment, Dkt. 646.

As an exhibit to each opposition brief, the State attached an identical declaration signed by




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Jonathan White on June 22, 2023 (the “June 22, 2023 Declaration” or the “Jonathan White

Declaration”). Dkts. 645-5 at 14-23 and 646-3 at 29-38. In that declaration, Mr. White provided

detailed descriptions of various types of voter fraud and offered opinions on the extent to which

SB1 helps fight mail ballot fraud.

        In light of Jonathan White’s testimony in his June 22, 2023 Declaration, LUPE Plaintiffs

raised sword-and-shield concerns in their June 24, 2023 motion to compel, Dkt. 655 at 3-4,5 and

the United States filed a notice raising similar concerns related to belated and selective disclosure

of information, Dkt. 656. At the July 11, 2023 hearing on that motion, LUPE Plaintiffs informed

the Court that the relief sought in that motion did not resolve the entire dispute created by the

Jonathan White Declaration, Ex. U at Tr. 44:8-14, and counsel for LUPE Plaintiffs, the State, and

the United States indicated that the parties were in the midst of meeting and conferring regarding

Plaintiffs’ concerns.

        The Court expressed that, in light of the concerns raised by LUPE Plaintiffs and the United

States, “[t]he appropriate remedy may be redepose [Jonathan White], maybe under a limited

number of questions to be asked, but that’s what I would highly suggest.” Id. at Tr. 45:20-22. And

emphasizing that the State had been “overly aggressive” in some of its privilege assertions during

Mr. White’s depositions, the Court also stated that, if “the State[] doesn’t make some

accommodations here . . . you’re ultimately going to be leading me down the road where I’m going

to have to strike or limit portions of this testimony[.]” Id. at Tr. 47:3-8.

            B. Mr. White’s August 11, 2023 Deposition

        Following back and forth between the parties, the State agreed to make Mr. White available

for a three-hour, topic-limited deposition on August 11, 2023. Ex. V. But in responding to


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 LUPE Plaintiffs reiterated these concerns in their July 19, 2023 advisory regarding this motion to compel.
Dkt. 674 at 6-9.


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deposition topics proposed by the United States, the State emphasized limitations it would place

on Mr. White’s testimony. Id. at 3. For example, the State asserted that Plaintiffs must refrain

from asking about non-public information related to active investigations or cases. Id. at 3.

Instead, as to those investigations and cases, the State indicated that Plaintiffs may ask about case

details only to the extent that Plaintiffs could demonstrate the matters are public, either through

public records or produced discovery. Id. at 3. Although “State Defendants agree[d] that Mr.

White may be asked about any closed investigation and cases of voter fraud,” see id. at 3, the State

neither identified closed investigations nor produced investigatory materials prior to the deposition

that would allow Plaintiffs' counsel to prepare questions about closed matters.

       On August 11, 2023, LUPE Plaintiffs and the United States deposed Mr. White. Ex. W.

On August 17, 2023, the Court issued an order regarding the motions for summary judgment filed

by the United States and OCA Plaintiffs. Dkt.724.

                                   II.    LEGAL STANDARD

           A. Federal Rule of Civil Procedure 37

       “The Federal Rules of Civil Procedure state that ‘[i]f a party fails to provide information

or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that

information or witness to supply evidence on a motion, at a hearing, or at trial, unless the failure

was substantially justified or is harmless.’” Holcombe v. United States, 516 F. Supp. 3d 660, 669

(W.D. Tex. 2021) (quoting Fed. R. Civ. P. 37(c)(1)). “[T]he language of Rule 37 does not require

a motion to compel before its exclusion sanction may apply.” Hovanec v. Miller, 331 F.R.D. 624,

634 (W.D. Tex. 2019).

       Rule 26(a) requires a party to provide to the other parties “a copy—or a description by

category and location—of all documents, electronically stored information, and tangible things




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that the disclosing party has in its possession, custody, or control and may use to supports its claims

or defenses, unless the use would be solely for impeachment.” Fed. R. Civ. P. 26(a)(1)(A)(ii).

Rule 26(a) also “requires testifying experts to provide an expert report that includes ‘a complete

statement of all opinions the witness will express and the basis and reasons for them; the facts or

data considered by the witness in forming them; [and] any exhibits that will be used to summarize

or support them,’ among other things.” Holcombe, 516 F. Supp. 3d at 669 (quoting Fed. R. Civ.

P. 26(a)(2)(B)).

       “Rule 26(e) requires that a party who has responded to an interrogatory or request for

production must supplement or correct its disclosure or response ‘in a timely manner if the party

learns that in some material respect the disclosure or response is incomplete or incorrect, and if

the additional or corrective information has not otherwise been made known to the other parties

during the discovery process or in writing.’” Sumrall v. Ensco Offshore Co., No. 2:17-CV-48-KS-

MTP, 2018 WL 2224074, at *2 (S.D. Miss. May 15, 2018) (quoting Fed. R. Civ. P. 26(e)(1)(A)); see also

Holcombe, 516 F. Supp. 3d at 669. This duty to supplement disclosures “extends to information

included in expert reports and given during expert depositions.” Holcombe, 516 F. Supp. 3d at

669 (citing Fed. R. Civ. P. 26(e)(2)).

       “Generally, the burden of proving substantial justification or harmlessness is on the

nondisclosing party.” Hovanec, 331 F.R.D. at 637. “To determine whether a failure to disclose

was harmless, the Court evaluates four factors: (1) the explanation for the failure to disclose; (2)

the importance of the information; (3) potential prejudice to the opposing party of including the

evidence; and (4) the availability of a continuance to cure such prejudice.” Id. (citing CQ, Inc. v.

TXU Min. Co., L.P., 565 F.3d 268, 280 (5th Cir. 2009)). “Substantial justification for the failure

to make a required disclosure has been regarded as justification to a degree that could satisfy a

reasonable person that parties could differ as to whether the party was required to comply with the


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disclosure obligation.” Olivarez v. GEO Grp., Inc., 844 F.3d 200, 205 (5th Cir. 2016) (cleaned

up).

       “The court, on motion and after giving an opportunity to be heard,” “may order payment

of the reasonable expenses, including attorney’s fees, caused by the failure” of the nondisclosing

party. Fed. R. Civ. P. 37(c)(1)(A).

           B. Federal Rule of Civil Procedure 56

       Federal Rule of Civil Procedure 56 requires that “[a]n affidavit or declaration used to . . .

oppose a motion” for summary judgment “must be made on personal knowledge, set out facts that

would be admissible in evidence, and show that the affiant or declarant is competent to testify on

the matters stated.” Fed. R. Civ. P. 56(c)(4). As such, “[t]he substance of an affidavit must

demonstrate the affiant has personal knowledge of the facts contained therein.” Wojciechowski v.

Nat’l Oilwell Varco, L.P., 763 F. Supp. 2d 832, 846 (S.D. Tex. 2011). “A party may object that

the material cited to support or dispute a fact cannot be presented in a form that would be

admissible in evidence.” Fed. R. Civ. P. 56(c)(2). To that end, if an “affidavit fails to meet any

of the procedural requirements” under Rule 56(c)(4), “a motion to strike that sets forth specific

objections is the proper method” for a party “to challenge the affidavit.” See Wojciechowski , 763

F. Supp. 2d at 846.

                                      III.   ARGUMENT

           A. The Jonathan White Declaration is Properly Struck Because the State Failed
              to Produce—and in Several Instances, Failed Even to Identify—Evidence That
              Forms the Basis of the Testimony in the Declaration.

           1. The Sword-and-Shield Doctrine Bars Testimony Based on Information Withheld by
              the State.

       Under the sword-and-shield doctrine, “a party may not use privileged information both

offensively and defensively at the same time.” Willy v. Admin. Rev. Bd., 423 F.3d 483, 497 (5th



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Cir. 2005); Nguyen v. Excel Corp., 197 F.3d 200, 207 n.18 (5th Cir. 1999) (emphasizing “a client’s

inability to, at once, employ the [attorney-client] privilege as both a sword and shield.”). As the

Fifth Circuit has emphasized, allowing a party to do so “would be manifestly unfair to the opposing

party.” Conkling v. Turner, 883 F.2d 431, 434 (5th Cir. 1989). “When a party puts privileged

matter in issue as evidence in a case, it thereby waives the privilege as to all related privileged

matters on the same subject.” See 8 Charles Wright & Arthur R. Miller, Federal Practice &

Procedure § 2016.2 (3d ed. 2023); see also Willy, 423 F.3d at 497; Doe 1 v. Baylor Univ., 320

F.R.D. 430, 439 (W.D. Tex. 2017).

       In lieu of compelling further discovery, courts regularly exclude evidence where there is a

sword-and-shield violation. See, e.g., Beach Mart, Inc. v. L&L Wings, Inc., No. 2:11-cv-44-FL,

2020 WL 6708236, at *2 (E.D.N.C. Nov. 13, 2020) (“Where [the deponent] refused to answer this

question during his deposition, he may not answer this question at trial, or otherwise allow [the

defendant] to use the attorney-client privilege impermissibly as a sword and shield.”); Mahli, LLC

v. Admiral Ins. Co., No. 1:14-cv-175-KS-MTP, 2015 WL 5024197, at *5 (S.D. Miss. Aug. 25,

2015) (“The Court finds that it would be patently unfair for [the defendant] to hide the substance

of [other witnesses’] statements to [an individual] behind the attorney-client privilege or work-

product doctrine during discovery, and to allow [the defendant] to use the statements against [the

plaintiff] at trial.”); Bright Harvest Sweet Potato Co. v. H.J. Heinz Co., L.P., No. 1:13-cv-296-

BLW, 2015 WL 1020644, at *1 (D. Idaho Mar. 9, 2015) (precluding a party from introducing

emails at trial that it previously claimed were subject to the attorney-client privilege). That

includes striking evidence from the record at the summary judgment stage. See, e.g.,, In re

Edmond, 934 F.2d 1304, 1308 (4th Cir. 1991) (“But the Fifth Amendment privilege cannot be

invoked as a shield to oppose depositions while discarding it for the limited purpose of making




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statements to support a summary judgment motion.”); United States v. Parcels of Land, 903 F.2d

36, 43 (1st Cir. 1990) (affirming district court order to strike affidavit in support of opposition of

summary judgment where affiant previously withheld testimony based on Fifth Amendment

privilege); Martin v. New York City Transit Auth., 148 F.R.D. 56, 64 (E.D.N.Y. 1993) (“The

[Department of Labor] cannot hide behind the informants’ privilege and prevent the disclosure of

interview notes and then choose to include declarations authored by the same interviewees in

support of a motion for summary judgment.”). After all, the “power to strike is grounded in the

principle that once a witness testifies, she may not invoke” a “privilege so as to shield that

testimony from scrutiny.” Parcels of Land, 903 F.2d at 43.

       The State has consistently withheld evidence that it construes as non-public, including

investigative and prosecution files in the possession of the Office of the Attorney General. See,

e.g., Dkt. 650 at 2, 7; Ex. J at Tr. 21:11-13 (“I wouldn’t be able to speak about the facts of those

ongoing cases other than what’s been made public[.]”). In addition, the State has sought to

“maintain[] the confidentiality of [the] investigative methods” of the Office of the Attorney

General and the Office of the Secretary of State by withholding information the State considers

revealing of that information, see Dkt. 650 at 3. The State claimed to produce information about

“criminal investigation[s]” that “no longer remain active.” See Dkt. 650 at 7; see also id. at 2-3.

Even then, Jonathan White claimed in his deposition to testify only to “public information” “about

closed cases.” See, e.g., Ex. J at Tr. 120:19-121:9.

       Now the State attempts to use the information it has withheld as a sword by introducing

the Jonathan White Declaration.

       For example, the Jonathan White Declaration claims that some individuals provide illegal

voter assistance. Dkts. 645-5 at 14-23 and 646-3 at 29-38. Mr. White offers detailed descriptions




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of the techniques he claims are used by fraudsters to approach voters, gain voter trust, and vote

ballots for voters. Jonathan White Dec. ¶¶ 8, 10, 11, 14, 15. However, in his April 27, 2023

deposition, when Plaintiffs’ counsel asked Mr. White to describe a particular example of illegal

assistance, Mr. White first refused to answer (“I can’t go into that case due to -- “), then OAG

counsel objected and stated stated “I'm instructing you -- to the extent that there’s anything in the

public record about the case, I'm instructing you to testify about that.” Ex. W at Tr. 185:14-187:23.

Mr. White then identified a case of alleged voter registration fraud and explained, “The case that

came to mind does not actually involve ballot assistance, it involved voter registration, and so it

may not be directly applicable to your -- your question, and I think it may not. . . . But if something

is in the public record, I would make that available to you.” Id. Tr. 188:2-16. Mr. White also

acknowledged that he could point to no prosecutions for illegal voter assistance in the polling

place. Ex. W at Tr. 75:13-76:14.

       Plaintiffs' counsel again tried to obtain information about the statements in Mr. White's

declaration by questioning him in the August 11, 2023 deposition about his claims of voter

assistance fraud in the polling place. Again, Mr. White limited his answers to public information.

Ex. W at Tr. 120:19-121:9. When Plaintiffs' counsel asked him for the basis of his detailed

statement about illegal assistance in the polling place, Mr. White referenced a civil election contest

in which subsequent criminal charges were later dismissed and a 2019 voter fraud prosecution in

which the defendant was acquitted. Ex. W at Tr. 89:4-91:14; 92:19-93:18.

       Unable to identify any successful prosecutions or documents produced in discovery to

support the claims in his declaration, Mr. White fell back on information never provided to

Plaintiffs, explaining,"my recollection is based on generally [sic] anecdotes that I might have

spoken with an investigator about or just general memories of an investigation and wouldn't be




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tied to any particular document." Ex. W at Tr. 89:23-90:5. The same is true for the Jonathan

White Declaration's descriptions of the techniques employed in alleged fraud related to mail ballots

(id. ¶¶ 11, 17-22, 25, 30, 31, 35, 42, 46), vote harvesting (id. ¶¶ 12, 13, 24, 26, 27, 28, 29, 32, 34,

37, 38, 39, 44, 45), and other election-related issues (id. ¶ 16). The declaration offers the opinion

that, based on information learned in investigations, current investigative tools are inadequate to

address voter fraud and “the ID requirement of SB1 with regard to applications for ballots by mail

and mail-in ballots is both reasonably calculated and necessary to eliminate several common types

of voter fraud.” Id. ¶ 6; Ex. W at Tr. 82:13-21; 85:7-24; 86:5-25; 89:4-90:5; 93:14-18; 93:22-94:6;

95:1-96:4.

       Indeed, subsequent testimony by Mr. White confirms that the declaration relies on

information previously withheld by the State. Although the State withheld all but two investigative

reports, as well as documents related to its investigations and prosecutions, Mr. White testified

that he based his declaration testimony on those same records, which form the basis of his

“criminal investigative experience.” Dkt. 666-2 ¶ 6. Mr. White acknowledged, in his July 14,

2023 declaration, that, for example, his statements in his prior declaration regarding the

prosecution of Zul Mohamed “relate to [his] understanding of ballot harvesting” gained through

his “criminal investigative experience.” Id. Further, during his August 11, 2023 deposition, Mr.

White acknowledged that the statements in his declaration are based at least in part on the

investigative and prosecution case files that he reviewed as part of his work at the Election Integrity

Division. See Ex. W at Tr. 110:5-18.

       The State should have disclosed this information initially under Rule 26(a), and then

supplemented its discovery production in accordance with Rule 26(e). But it did not. And the

State cannot show that its failure to disclose is harmless. See Hovanec, 331 F.R.D. at 637.




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        Regarding the first factor, the State fails to offer a satisfactory explanation for its non-

disclosure. The State has previously asserted that the withheld evidence was privileged, that

disclosure of the withheld information would compromise ongoing investigations, and that

reviewing documents was unduly burdensome given the number of case files in the possession of

OAG. See, e.g., Ex. C at 18-19, 21. Regardless of whether those arguments were valid prior to

the State’s inclusion of the Jonathan White Declaration—and they were not—the State

affirmatively chose to rely on that withheld information through its use of the declaration. The

State therefore cannot rely on those shields as it uses withheld information as a sword in support

of its defense. See Doe 1 v. Baylor Univ., 335 F.R.D. 476, 496 (W.D. Tex. 2020).

        The third factor—potential prejudice—likewise weighs strongly against the State. After

withholding evidence as privileged for over a year and a half, the State filed the Jonathan White

Declaration with its responses in opposition to motions for summary judgment—after discovery

closed and just two and a half months before trial. Although the State offered up Mr. White for a

limited deposition (upon the Court’s recommendation) on August 11, 2023, the State produced no

documents related to the statements in Mr. White's declaration and did not permit Mr. White to

testify about the information it had withheld on the basis of privilege. Ex. V at 3. And during that

deposition, Mr. White acknowledged that the withheld information informed the testimony in his

June 22, 2023 Declaration. Ex. W at Tr. 110:5-18. Thus, LUPE Plaintiffs will be significantly

prejudiced—both before this Court and on any potential appeal—because they have not had the

opportunity to review, much less challenge, information that informed Mr. White’s testimony.

        The fourth factor—the availability of a continuance to cure the prejudice—also weighs

strongly against the State, as trial in this suit is set to begin in eleven days. Thus, regardless of the




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second factor—the importance of the information—the State cannot meet its burden to show that

its failure to disclose is harmless.

        For similar reasons, the State also cannot show that its failure to disclose was substantially

justified. Olivarez, 844 F.3d at 205. Given the State’s affirmative use of information it previously

withheld or otherwise failed to produce, there is “no factual or legal basis for its position that the

alleged burden of” disclosure could “excuse its non-compliance with its obligations under Rule

26(a) and Rule 26(e).” Flores v. AT&T Corp., No. 3:17-cv-00318-DB-ATB, 2019 WL 2746774,

at *8 (W.D. Tex. Mar. 27, 2019)

        Accordingly, under Rule 37(c), the presumptive sanction of exclusion applies, see Honey-

Love v. United States, 664 F. App’x 358, 361–62 (5th Cir. 2016), and the redacted paragraphs in

Exhibit A should be struck from the Jonathan White Declaration, Dkts. 645-5 at 14-23 and 646-3

at 29-38. For the same reasons, the State should not be permitted to offer witness testimony at

trial relating to information it has previously withheld or otherwise failed to disclose For example,

the State intends to ask Mr. White about “election-related investigations and prosecutions,” as well

as “vulnerabilities to fraud in Texas elections” and “election integrity.” Dkt. 709 at 4. As the

State’s use of Mr. White’s June 22, 2023 Declaration reflects, Mr. White’s testimony regarding

these subjects necessarily will implicate information the State has not produced. Similarly, Mr.

Ingram’s unwillingness to reveal non-public information during his April 28, 2022 deposition

should preclude the State from offering witness testimony at trial relating to information previously

withheld. The Court therefore should exclude such testimony—namely, testimony about non-

public information related to investigation or prosecution of alleged voter fraud—whether from

Mr. White or any other witness.

            2. The State has Failed Even to Identify Investigative and Prosecution Files Related
               to Active or Closed Investigations.



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        Worse, the State has failed even to identify an unknown number of investigative reports or

other case files that relate to investigations conducted by the Office of the Attorney General and

on which Mr. White relied on to draft his declaration. Because the State has failed to identify—

much less produce or offer testimony about—these documents, it cannot rely on the information

included in them in any testimony it offers.

        Mr. White testified that he would receive an investigative report “on the completion of any

investigation that was referred for prosecution,” Ex. W at Tr. 25:18-26:-2, and he acknowledged

that he would generally review “this document at some point in time” if the Criminal Investigations

Division referred an investigation to the Election Integrity Division for prosecution, Ex. W at Tr.

24:14-18. Mr. White also acknowledged that, after receiving an investigative report, he would not

always decide to prosecute the case, and he stated that “it wasn’t infrequent that a case . . . wouldn’t

be viable in court.” Ex. W at Tr. 26:3-9.

        In his August 11, 2023 deposition, Mr. White identified one document as an investigative

report (Ex. W at Tr. 23:15-24:18), and testified that this document was missing exhibits that would

typically be considered part of an investigative file. Ex. W at Tr. 117:21-118:7. However, the

State did not produce those exhibits to the investigative report.

        The State repeatedly objected to the production of full investigative and prosecution case

files, see, e.g., Ex. C at 18-19, 21; Ex. O at 6. Further, despite the fact that “typically these

[documents] would stay with the Criminal Investigations Division” and that Mr. White would

“[v]ery likely have a copy” of the investigative file if the investigation resulted in a prosecution,

Ex. W at Tr. 26:10-21, the State’s privilege logs omit investigative reports—whether for closed or

purportedly active investigations, Ex. M at 54 (listing 2 documents withheld by OA custodians);

Ex. Q. Indeed, when shown OAG’s May 19, 2023 privilege log, Mr. White testified that he did



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not “see[] investigation files” on that log; Mr. White further testified “that there are investigative

files in the Election Integrity Division that would be relevant to voter fraud investigations but” that

“are not on [the] privilege log[,]” (Ex. W at Tr. 116:20-24), and shared his assessment that “any

investigative files that [the Criminal Investigations Division] has would be relevant to voter fraud

investigations,” Ex. W at Tr. 116:24-117:2.

       During his August 11, 2023 deposition, Mr. White testified that the statements in his

declaration are informed by the investigative and prosecution case files that he reviewed through

his work at the Election Integrity Division. See Ex. W at Tr. 110:5-18; 116:20-117:2. Because

the State relies on this information for its defense, it had—and continues to have—a duty to

disclose these documents pursuant to Rule 26(a)(1). Brown v. AT & T Servs. Inc., 236 F. Supp. 3d

1000, 1005 (S.D. Tex. 2017). Further, “[u]nder Rule 26(e)(1), a party is obligated to supplement

its response to discovery production requests in a timely manner when it learns that the response

is incomplete or incorrect in some material respect and the information has not otherwise been

made available.” Flores, 2019 WL 2746774, at *5. Because the State has failed to identify—

much less produce—all but two investigative reports, any accompanying exhibits, and other

documents from the case files of these investigations and prosecutions, and has withheld testimony

related to such information, the State’s reliance on that information through the Jonathan White

Declaration and his planned testimony violates Rule 26(a) and (e). See id. at *5, 9; see also Brown

v. AT & T Servs. Inc., 236 F. Supp. 3d 1000, 1005 (S.D. Tex. 2017); see also Textron Innovations

Inc. v. SJ DJI Tech. Co., No. W-21-cv-00740-ADA, 2023 WL 3681712, at *2 (W.D. Tex. Mar.

29, 2023), report and recommendation adopted sub nom. Textron Innovations Inc. v. SZ DJI Tech.

Co., No. 6:21-CV-00740-ADA, 2023 WL 4084509 (W.D. Tex. June 20, 2023); Sumrall v. Ensco

Offshore Co., No. 2:17-CV-48-KS-MTP, 2018 WL 2224074, at *3 (S.D. Miss. May 15, 2018).




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       Flores is instructive. In that case, the plaintiff alleged that the defendant improperly

terminated his employment in violation of the Family and Medical Leave Act; the defendant

contended that the plaintiff was terminated because he failed to meet the defendant’s performance

standards. Flores, 2019 WL 2746774, at *1. To assess whether an employee met performance

standards, the defendant gave each employee a performance score based on “various types of data.”

Id. Through discovery, the plaintiff sought the defendant’s raw data in native electronic format

relating to its evaluation of the plaintiff’s performance. Id.

       The defendant did not produce this raw data.              However, the defendant produced a

spreadsheet that constituted “a summary of the raw data underlying” the plaintiff’s performance

score, and that didn’t “reflect everything in the” defendant’s database. Id. at *2 The defendant in

turn relied on that spreadsheet in support of its motion for summary judgment, and the plaintiff

moved to exclude that spreadsheet because of the defendant’s failure to provide the requested raw

data and to provide data in its native form. Id. at *3.

       The Flores court concluded that, “in accordance with Rule 26(e), [the defendant] was

required to supplement its discovery response and produce the raw data in its native form,” but

failed to do so. Id. at *5. And noting that the defendant acknowledged the information “was not

made available to” the plaintiff, the court held that the defendant “should not be allowed to use

the [s]preadsheet . . . because [the defendant] failed to supplement its disclosures with the

[underlying] data in its native form,” even though “some” of the underlying data “was produced

in the [s]preadsheet.” Id. at *5, 9-10.

       With the introduction of the Jonathan White Declaration, the State has likewise failed to

comply with Rule 26(a) and (e) by relying on information in the investigative and prosecution files




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that it has failed to identify—much less produce.6 And for the reasons discussed regarding the

State’s violation of the sword-and-shield doctrine, the State cannot show that its failure to comply

with Rule 26(a) and Rule 26(e) was substantially justified or harmless. See Section III.A.1.

Indeed, the prejudice is even greater for this violation, as the State’s failure even to identify this

information prevents LUPE Plaintiffs from assessing the nature of the information and the

propriety of any privilege assertions by the State. Accordingly, the redacted paragraphs in Exhibit

A must be struck from the Jonathan White Declaration, Dkts. 645-5 at 14-23 and 646-3 at 29-38.

        For the same reasons, the State should not be permitted to offer testimony at trial relating

to information it has failed to identify—much less produce. As noted in Section III.A.1, the State

intends to ask Mr. White about, among other things, “election-related investigations and

prosecutions” and “vulnerabilities to fraud in Texas elections”—the same topics addressed in Mr.

White’s declaration. See Dkt. 709 at 4. Similarly, the State plans to call Mr. Ingram to testify

about, among other things, “election administration in Texas, generally; policies, practices, and

procedures governing Texas elections;” “election integrity; the 2020 General Election;” and “the

implementation and effects of Senate Bill 1[.]” Dkt. 709. Because the State has not produced—

and in an unknown number of instances, failed to identify—non-public information related to

investigations or prosecutions, the Court should exclude such testimony by Mr. White or any other

witness.

            B. Testimony Offered by the State Constitutes Inadmissible Summary Evidence.

        Mr. White’s testimony in his June 22, 2023 declaration constitutes inadmissible summary

testimony in violation of Federal Rule of Evidence 1006. Federal Rule of Evidence 1006 provides:



6
  To the extent that the State asserts any privilege over that information, the State’s introduction of the
Jonathan White Declaration violates the sword-and-shield doctrine, and that doctrine bars the State’s
reliance on that information for its defense, for the reasons expressed in Section III.A.1.


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“The proponent may use a summary, chart, or calculation to prove the content of voluminous

writings, recordings, or photographs that cannot be conveniently examined in court[;]” however,

“[t]he proponent must make the originals or duplicates available for examination or copying, or

both, by other parties at a reasonable time and place.” Fed. R. Evid. 1006.

       The Fifth Circuit’s analysis in United States v. Nguyen is instructive for why the Jonathan

White Declaration violates Rule 1006. 504 F.3d 561 (5th Cir. 2007). In that case, the government

introduced testimony of an FBI financial analyst. That analyst “provided a summary of her

investigation and authenticated a summary chart that described the operation.” Id. at 572.

       The Fifth Circuit concluded that the analyst’s testimony “exceeded the bounds of Rule

1006 because she stated that her testimony was premised, in part, on out-of-court statements that

unspecified witnesses made to FBI agents during the investigation.” Id. The Fifth Circuit

emphasized that “[t]his testimony was in error because the supporting evidence must have been

‘presented previously to the [factfinder] to establish any assumptions reflected in the summary.’”

Id. As the Fifth Circuit went on to note, “[t]he out-of-court statements to which [the analyst]

referred may have been in general agreement with the evidence that the government had presented,

but these statements were not in fact presented previously to the [factfinder].” Id. Accordingly,

the Fifth Circuit held that the government violated Rule 1006 by offering the analyst’s summary

testimony. Id.

       The Jonathan White Declaration presents an even greater misuse of summary testimony

than the testimony at issue in Nguyen. In his declaration, Mr. White emphasizes that, during his

time at OAG, he has “reviewed hundreds of investigations and handled approximately 100

prosecutions, many of which were complex[.]” Jonathan White Dec. ¶ 3. During his August 11,

2023 deposition, when asked if that investigative experience “form[s] the basis of your knowledge




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of the topics that you testify about in your declaration,” Mr. White answered, “[c]ertainly a large

portion of it.” Ex. W at Tr. 71:8-21.

        Based on that experience, Mr White repeatedly makes summary statements about alleged

mail ballot and voter-assistance fraud schemes. See Jonathan White Dec. ¶ 6. For example, Mr.

White provides a breakdown of the proportion of investigations and prosecutions in his office

dealing with “mail-in ballot fraud,” “illegal voting, and voter assistance.” Id. ¶ 7. Mr White also

summarizes what, in his estimation, are common features of alleged mail ballot fraud, vote

harvesting fraud, and voter assistance fraud schemes. Id. ¶¶ 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17,

24, 25, 26, 27, 28, 29, 30, 31, 31, 34, 35, 36, 37, 38, 40, 43, 42, 44, 45. And in several instances,

Mr. White explicitly notes what he believes are “common” features (e.g., ¶¶ 6, 7, 20, 27, 28, 29,

30) or phenomena that “often” (e.g., ¶¶ 14, 15, 25, 29, 35, 38), “normally” (e.g., ¶¶ 11, 12, 14, 39,

45), “usually” (e.g., ¶¶ 11, 14 ), or “typically” (e.g., ¶¶ 13, 25, 45) occur.

        But despite the summary nature of the Jonathan White Declaration, the State has withheld

as privileged underlying information that is non-public, see Section III.A.1, and has failed even to

identify investigation or prosecution files relating to both active and closed investigations, see

Section III.A.2. Because this “supporting evidence must have been ‘presented previously,’” the

State cannot now rely on Mr. White’s summary testimony in his June 22, 2023 declaration.

Nguyen, 504 F.3d at 572; cf. United States v. Valencia, 600 F.3d 389, 417-18 (5th Cir. 2010) (no

violation of Rule 1006 where government provided opposing counsel with underlying records one

month before trial).

        The State’s production of spreadsheets that purportedly list all election fraud prosecutions

by the Office of the Attorney General, and its limited production of public information related to

cases, do not change that outcome. See, e.g., Ex. D, E, F, G. As Mr. White testified in his August




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11, 2023 deposition, he provided only “public information about the[se] cases” when asked by

counsel, and he provided information about closed cases only to the extent that the information

was “publicly available.” Ex. W at Tr. 120:10-121:5; see also Ex. J at Tr. 185:14-188:16.

       But as Mr. White acknowledged, his statements in his declaration are informed by the

investigative and prosecution case files that he has reviewed through his work at the Election

Integrity Division. See Ex. W at Tr. 110:5-18. The declaration therefore goes beyond addressing

publicly available information regarding active or closed investigations. As such, the State has

failed to provide all of the “supporting evidence” underlying even the spreadsheets. Nguyen, 504

F.3d at 572.

       Further, Mr. White’s summary testimony “also exceed[s] the bounds of Rule 1006 because

[he] stated that [his] testimony was premised, in part, on out-of-court statements” not presented to

the factfinder. Id. Mr. White acknowledged that he did not personally review all complaints that

came into the Office of the Attorney General. Ex. W at Tr. 17:12-14. Mr. White also stated that

he did not have “direct supervisory authority” over the investigators from the Criminal

Investigations Division, Ex. W at Tr. 18:9-19, and that generally he did not question witnesses

before the Criminal Investigations Division referred an investigation for prosecution, Ex. W at Tr.

21:9-20.

       Rather, Mr. White testified that he learned about the outcomes of an investigator’s efforts

“[g]enerally” through “one-on-one conversations.” Ex. W at Tr. 20:8-17. For example, when

asked how he came to the conclusion that “Dallas County received and counted fraudulent ballots

from [Zul] Mohamed,” Mr. White testified that “I believe that was told to me by my investigator.”

Ex. W at Tr. 59:17-21. And when asked if he was “personally involved in investigating and




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making that determination,” he replied, “No. I did not go to Dallas County, and I didn’t talk with

the families and the voters myself.” Ex. W at Tr. 59:22-60:2.

       Further, when asked about “[h]ow much of an investigative file [came] to [his] attention,”

Mr. White testified that he might see the report written by an investigator, or he “might just

verbally be told about election records that were obtained,” or “might be told about . . . witness

interviews or things that the investigator had learned or researched.” Ex. W at Tr. 26:22-27:11.

Indeed, Mr. White acknowledged that he “didn’t always need to read an entire investigative report

if one was provided,” as “a lot of it would be based on the conversation . . . with the investigator

so I could cut to the chase. Especially if the investigator . . . wasn’t that good of a writer, I might

get the information out of him just via conversation.” Ex. W at Tr. 27:25-28:13.

       In addition, even for cases that the Election Integrity Division worked on following a

referral by the Criminal Investigations Division, Mr. White’s testimony relies on out-of-court

statements by other OAG employees. Mr. White acknowledged that, since he became a supervisor

in 2018, he “would generally be referring [] cases to other attorneys” in the Election Integrity

Division. Ex. W at Tr. 29:3-15. Mr. White also testified that an investigative report “would

probably not even come to me. I mean, it would probably go to the attorney, and I would just

know what the basic case is from talking to the prosecutor and the investigator.” Ex. W at Tr.

29:3-15.

       “The out-of-court statements” on which Mr. White relied, and to which he “referred” in his

deposition, “were not in fact presented previously” to Plaintiffs or to the Court. Nguyen, 504 F.3d

at 572. Because the testimony in the Jonathan White Declaration is “premised, in part, on those

out-of-court statements,” the State’s introduction of the Jonathan White Declaration violates Rule

1006. Id.




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          Accordingly, because the Jonathan White Declaration is inadmissible summary testimony

and relies on out-of-court statements, the State may not use it in support of its summary judgment

briefing. See Fed. R. Civ. P. 56(c)(4); see also Brown, 236 F. Supp. 3d at 1005 (striking call log

offered “to prove the content of the calls” on the log because exhibit constituted “inadmissible

hearsay”).

          For the same reasons, the Court should exclude any summary testimony at trial by any

State witness about non-public information related to investigations or prosecutions of alleged

voter fraud, including the State’s planned testimony by Mr. White regarding “election-related

investigations and prosecutions.” See Dkt. 709 at 3.

             C. The Jonathan White Declaration is Improper Lay Opinion Testimony.

          The testimony in the Jonathan White Declaration is improper lay testimony in

contravention of Federal Rules of Evidence 701 and Federal Rule of Civil Procedure 56(c)(4).

          The State has consistently identified Mr. White as a lay witness. However, “it is the content

of testimony, not a witness’s formal designation as an expert witness, which determines whether

Rule 702 applies.” Carlson v. Bioremedi Therapeutic Sys., Inc., 822 F.3d 194, 198 (5th Cir. 2016).

“That rule must be used to assess ‘any part of a witness’s opinion that rests on scientific, technical,

or specialized knowledge[.]’” Id. (quoting United States v. Cooks, 589 F.3d 173, 180 (5th Cir.

2009)).

          “Under [Federal Rule of Evidence] 701, a lay opinion must be based on personal

perception, must be one that a normal person would form from those perceptions, and must be

helpful to the” factfinder. United States v. El-Mezain, 664 F.3d 467, 511 (5th Cir. 2011) (quoting

United States v. Riddle, 103 F.3d 423, 428 (5th Cir. 1997)). A lay witness’s “testimony in the

form of an opinion is limited to one that is . . . not based on scientific, technical, or other specialized




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knowledge within the scope of Rule 702.” In re: Taxotere (Docetaxel) Prod. Liab. Litig., 26 F.4th

256, 264-65 (5th Cir. 2022) (quoting Fed. R. Evid. 701(c)). Of course, “[t]estimony need not be

excluded as improper lay opinion, even if some specialized knowledge on the part of the agents

was required,” but the testimony still must be “based on first-hand observations in a specific

investigation.” El-Mezain, 664 F.3d at 514 (emphasis added). That means that, “[i]n particular,

the witness must have personalized knowledge of the facts underlying the opinion and the opinion

must have a rational connection to those facts.” In re: Taxotere (Docetaxel) Prod. Liab. Litig., 26

F.4th at 265 (emphasis added) (quoting Miss. Chem. Corp. v. Dresser-Rand Co., 287 F.3d 359,

373 (5th Cir. 2002)). Further, that personal knowledge must be “direct and particularized,” DIJO,

Inc. v. Hilton Hotels Corp., 351 F.3d 679, 686 (5th Cir. 2003), and “it has always been the rule

that lay opinion testimony may be elicited only if it is based on the witness’s first-hand knowledge

or observations,” id. at 685.

       Fifth Circuit precedent is instructive for the degree of personal knowledge necessary for a

lay witness to offer opinion testimony. For example, in El-Mezain, the Fifth Circuit emphasized

that testimony by FBI agents was proper lay testimony because those agents “were extensively

involved in the investigation” at issue, and “their testimony was either descriptive or based on their

participation in, and understanding of, the events in” that case. El-Mezain, 664 F.3d at 514

(empahsis added). In United States v. Ebron, the Fifth Circuit emphasized that Bureau of Prison

officials provided proper lay testimony regarding various aspects of penitentiary life and prisoner

behavior because their testimony was “based on their past experiences formed from firsthand

observation.” 683 F.3d 105, 122, 138 (5th Cir. 2012) (emphasis added). And in United States v.

Keys, the Fifth Circuit emphasized that a police detective could offer lay opinion testimony

regarding the veracity of the defendant’s statement to police because “the testimony was certainly




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based on his personal perceptions,” as he “was one of the three agents present when law

enforcement interviewed” the defendant, “[h]e participated actively in the questioning,” “and he

was able to observe, over some time, [the defendant’s] demeanor and the inconsistencies in his

story.” 747 F. App’x 198, 210 (5th Cir. 2018)

       By contrast, lay opinion testimony is improper when a witness does “not have the requisite

first-hand, personal knowledge” of the specific information about which he opines. DIJO, Inc.,

351 F.3d at 686. So, for example, a company’s CEO cannot provide opinion testimony about the

value of collateral where he did not participate in the “purchase of the particular items in question,

and his affidavit belie[d] any contention that he based his . . . opinion on personal knowledge of

the collateral.” Compania Administradora de Recuperacion de Activos Administradora de Fondos

de Inversion Sociedad Anonima v. Titan Int'l, Inc., 533 F.3d 555, 560 (7th Cir. 2008).

       Here, Mr. White lacks first-hand, personal knowledge about investigations and

prosecutions purportedly informing his testimony in his June 22, 2023 declaration. As discussed

above, and as he repeatedly acknowledged in his August 11, 2023 deposition, Mr. White did not

participate in investigations performed by the Criminal Investigations Division, and he relied

almost exclusively on investigators and prosecutors to gather information about any investigations

and prosecutions that actually did come to his attention. See supra, Section III.B. Moreover, Mr.

White admitted that he lacks personal knowledge over the vast majority of matters that never

proceeded past the investigation stage. Ex. W at Tr. 18:23-19:6 (“[I]f there was a complaint that

didn’t require further investigation—that didn’t merit investigation[—]it’s unlikely that that would

be brought to my attention.”).

       Further, of the investigations that actually were referred to the Election Integrity Division,

Mr. White frequently did not even review portions of the investigative reports or case files for




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those matters, instead relying on conversations with investigators and prosecutors working on

those matters. See supra, Section III.B.      Indeed, when deciding to move forward with the

prosecution of a matter referred by the Criminal Investigations Division, Mr. White would make

a decision “fairly quickly” and then “would refer the file to the prosecutor and connect him with

the investigator.” Ex. W at Tr. 29:16-24.

       Thus, Mr. White’s testimony is not “based on first-hand observations” regarding “specific

investigation[s].” El-Mezain, 664 F.3d at 514. As such, Mr. White’s statements regarding the

methods and prevalence of voter fraud, the efficacy of pre-SB1 investigative techniques and the

extent to which SB1 aids in combating voter fraud “did not merely draw straightforward

conclusions from observations informed by his own experience,” United States v. Riddle, 103 F.3d

423, 429 (5th Cir. 1997) (emphasis added). Those opinions “cannot be admitted under Rule 701

because [they are] not based on personal knowledge and would instead have to be based on

specialized knowledge.” Metro Hosp. Partners, Ltd. v. Lexington Ins. Co., 84 F. Supp. 3d 553,

564 (S.D. Tex. 2015). Because the State attempts to rely on Mr White’s “specialized knowledge,”

“not simply lay opinion testimony based on his perceptions,” the State has improperly

characterized the Jonathan White Declaration as lay opinion testimony. See In re: Taxotere

(Docetaxel) Prod. Liab. Litig., 26 F.4th at 267; see also Fed. R. Evid. 701.

       Because the Jonathan White Declaration constitutes inadmissible lay opinion testimony—

including because his testimony is not based on personal knowledge and relies on inadmissible

hearsay—the declaration violates Federal Rule of Civil Procedure 56(c)(4) and must be struck.

See Fed. R. Civ. P. 56(c)(4) (requiring that affidavit used to “oppose a motion must be made on

personal knowledge” and “set out facts that would be admissible in evidence”). In addition, any




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similar testimony by a State witness regarding investigations or prosecutions must be excluded at

trial pursuant to Rule 701.

           D. The Jonathan White Declaration and Any Other Similar Testimony Fails to
              Satisfy the Disclosure and Reliability Requirements for Expert Testimony.

       Properly characterized, the Jonathan White Declaration constitutes expert testimony. Mr.

White’s testimony therefore must satisfy the disclosure requirements of Federal Rule of Civil

Procedure 26(a)(2), and the reliability requirements of Federal Rule of Evidence 702. It satisfies

neither.

       First, the State never designated Mr. White as an expert witness, despite the expert nature

of his testimony. To the extent that Court construes Mr. White’s June 22, 2023 Declaration as an

expert report, the declaration was served after the close of discovery, and the State has failed to

comply with the requirements of an expert report under Rule 26(a)(2)(B), including by failing to

produce all of “the facts or data considered by the witness” in forming his opinion. Fed. R. Civ.

P. 26)(a)(2)(B)(ii); see also Section III.A (listing examples of documents and testimony never

produced or identified by the State).

       The State has therefore failed to comply with Rule 26(a).           “Under Rule 37(c), the

presumptive sanction for failing to disclose a testifying expert or supply a required expert report

or summary disclosures is to exclude or limit the expert’s testimony unless the failure was

substantially justified or harmless.” Honey-Love v. United States, 664 F. App’x 358, 362 (5th Cir.

2016). For the reasons expressed in Section III.A, the State cannot show that the failure was

substantially justified or harmless; accordingly, on this basis alone, the Jonathan White Declaration

must be excluded.

       Second, Mr. White’s testimony is not reliable under Rule 702 and the analytical framework

of Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). Rule 702 provides that an expert



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testimony may testify only if, among other things, “the testimony is based on sufficient facts or

data” and “the testimony is the product of reliable principles and methods[.]” Fed. R. Evid. 702(b)

and (c). “The reliability inquiry entails a preliminary assessment of whether the reasoning or

methodology underlying the testimony is scientifically valid and can be properly applied to the

facts in issue.”   Holcombe v. United States, 516 F. Supp. 3d 660, 673 (W.D. Tex. 2021).

Regardless of whether an expert witness is “well-qualified by experience,” the expert’s testimony

“still may be barred if it is not based on sound data.” Montgomery Cnty. v. Microvote Corp., 320

F.3d 440, 448 (3d Cir. 2003) (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153 (1999)).

“The party offering expert testimony has the burden of establishing by a preponderance of the

evidence that the challenged expert testimony is admissible.” Holcombe, 516 F. Supp. 3d at 673.

       The State cannot meet that burden, as neither Mr. White’s methodology nor the underlying

data are sound. As an initial matter, LUPE Plaintiffs cannot address fully the deficiencies with

Mr. White’s analysis because of the State’s failure to produce information underlying his

testimony, such as investigation and prosecution files. See supra, Section III.A and B. To the

extent that Mr. White has indicated what data underlie his testimony, Mr. White acknowledged

that he rarely, if ever, learned information about investigations that were not referred for

prosecution. See supra, Section III.B. Thus, Mr. White’s assessment of the nature and frequency

of voter fraud, the efficacy of investigative techniques, and the purported efficacy, necessity, and

reasonableness of the measures introduced by SB1, are based on an incomplete and “skewed

dataset.” See Falcon v. State Farm Lloyds, No. 1:12-CV-491-DAE, 2014 WL 2711849, at *13

(W.D. Tex. June 16, 2014) (“Rather than sending a variety of samples in an attempt to evaluate

the actual condition of the [] residence, [the expert] sent samples which appeared to show smoke

contamination.”); U.S. Info. Sys., Inc. v. Int'l Bhd. of Elec. Workers Loc. Union No. 3, AFL-CIO,




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313 F. Supp. 2d 213, 233 (S.D.N.Y. 2004). That “inherent bias” in the dataset alone renders Mr.

White’s testimony “unreliable.” Falcon, 2014 WL 2711849, at *13.

       Mr. White’s methodology of reviewing investigations and prosecutions is also improper.

For example, Mr. White testified in his declaration regarding techniques employed by fraudulent

voter assistors. Jonathan White Dec. ¶ 10. When asked in his August 11, 2023 deposition about

any prosecutions that reflected those facts, Mr. White pointed to a prosecution in Nueces County,

but described the prosecution as “not a successful one.” Ex. W at Tr. 90:21-91:14. In other words,

Mr. White has classified as voter fraud instances where an individual has not been convicted—and

with this particular example, where an individual has in fact been acquitted. Those cannot count

as instances of voter fraud.

       Mr. White’s discussion of the prosecution of Zul Mohamed indicates that he relies on

inapposite examples to conclude that measures introduced by SB1 would prevent voter fraud. See

Jonathan White Dec. ¶¶ 18-23. For example, Mr. White refers to the prosecution of Zul Mohamed

as an example of the mail ballot fraud that, in his assessment, SB1 would have prevented (¶ 18)

and "signature verification did not reveal the fraud.” Id. ¶ 21. Mr. White concluded that had an

“ID number requirement” been in place for mail ballots—”either on the applications or ballot

envelopes”—that requirement “would have prevented this fraud scheme entirely” because “Mr.

Mohamed “would not . . . have been able to provide the identification numbers” necessary to

satisfy that requirement. Id.

       But based on public statements by OAG about Mr. Mohamed’s case, Mr. White has the

facts wrong. According to an October 8, 2020 press release by the Office of the Attorney General,

Mr. Mohamed “allegedly obtained a virtual mailbox using a false identity, forged at least 84 voter

registration applications . . .. , and had them sent to a fraudulent location.” Ex. Y at 2 (emphasis




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added). To have registered voters with those voter registration applications, Mr. Mohamed

necessarily would have had access to the identification numbers for those voters. See Ex. W at Tr.

106 at 10-13 (“So, to the extent that any vote harvester has . . . personal identifying information[]

of a voter, they could . . . forge a registration application and the following documents to vote.”).

And since he had identification numbers, a mail ballot requirement for those numbers would not

have prevented Mr. Mohamed’s actions.          Thus, contrary to Mr. White’s assessment, Mr.

Mohamed’s prosecution in no way supports the notion that an identification number requirement

for mail ballot applications or envelopes prevents fraud.

       Thus, because Mr. White’s testimony is based on incomplete—and in an unknown number

of cases, incorrect—data, along with flawed reasoning, his testimony about both the characteristics

of voter fraud and any measures that would address such fraud are unreliable under Rule 702 and

the Daubert framework.

       Because any similar testimony at trial from OAG or SOS employees—including from Mr.

White—would suffer the same disclosure and Daubert defects, those individuals should likewise

be barred from offering testimony about the nature and frequency of voter fraud, and the purported

efficacy, necessity, and reasonableness of the measures introduced by SB1.

           E. The Jonathan White Declaration Offers Inadmissible Legal Opinions.

       Whether construed as lay or expert testimony, the Jonathan White Declaration offers

improper legal conclusions that must be struck. “Experts cannot ‘render conclusions of law’ or

provide opinions on legal issues.” Renfroe v. Parker, 974 F.3d 594, 598 (5th Cir. 2020) (quoting

Goodman v. Harris Cnty., 571 F.3d 388, 399 (5th Cir. 2009)). “It is also generally prohibited for

a lay witness to interpret statutes and to give legal opinions.” El-Mezain, 664 F.3d at 511; see also




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Keys, 747 F. App’x at 207 (5th Cir. 2018) (“[T]estimony that amounts to a legal conclusion is

improper.”).

       Mr. White offers the following legal conclusions in violation of the Federal Rules of

Evidence:

            ● “Based on [my] experience, I believe that the ID requirement of SB1 with regard
              to applications for ballots by mail and mail-in ballots is both reasonably calculated
              and necessary to eliminate several common types of voter fraud. See Tex. Elec.
              Code §§ 84.002(1-a); 86.001(f); Section 87.041(b)(8).” Jonathan White Dec. ¶ 6.

            ● “I believe the ID requirement is a reasonable security measure to address a
              significant vulnerability of mail ballots, that offers voters eligible to vote by mail a
              far greater degree of convenience than in-person voting. It strikes an appropriate
              balance between election integrity and accommodation of voters who might have
              difficulty or require assistance voting in person.” Id. ¶ 41.

            ● “Because mail ballots have few safeguards, fraud is perpetrated relatively easily.
              But it is many orders of magnitude more difficult to prove what happened, and even
              in cases of clear fraud, to identify the perpetrator and prove each element of an
              offense beyond a reasonable doubt. Our successful prosecutions represent a tiny
              fraction of the number of individuals involved in vote harvesting and the number
              of votes and voters who have been defrauded.” Id. ¶ 31.

            ● “Requiring the provision of an ID number helps eliminate schemes involving direct
              diversion of ballots. This helps narrow the field of possible vote harvesting
              schemes, and of those possible schemes, it makes them more difficult.” Id. ¶ 42.

            ● “Generally speaking, it is important to realize that election fraud is extremely
              difficult to detect, harder to prove, and even harder to rectify after votes are counted.
              The reality is that the only effective way to achieve election integrity is to have
              adequate measures in place to prevent fraud before the votes are cast, and in the
              case of mail-ballots, to implement security measures that achieve the same level of
              security that is in place at a polling location. The ID number requirement is a small
              step in that direction.” Id. ¶ 48.

       Because these excerpts constitute inadmissible legal conclusions, they must be struck from

the Jonathan White Declaration.

       Likewise, testimony at trial regarding inadmissible legal conclusions by State witnesses

should be excluded. For example, the State has indicated that Mr. White will testify about




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“vulnerabilities to fraud in Texas elections” and “Senate Bill 1’s impact on these vulnerabilities.”

Dkt. 709 at 3. Similarly, Mr. Ingram will testify about “the implementation and effects of Senate

Bill 1, and Kristi Hart—the Director of Election Administration and Voter Registration for SOS’s

Elections Division—will testify “about the implementation of Senate Bill 1[‘s] . . . ID

requirement.” Id. at 4. Given that the Jonathan White Declaration on those subjects offers

inadmissible legal opinions, LUPE Plaintiffs respectfully request that the Court issue an order

excluding similar testimony by any witness offered by the State at trial.

                                     IV.     CONCLUSION

       For the foregoing reasons, LUPE Plaintiffs respectfully request that the Court strike the

Jonathan White Declaration, such that the portions redacted in Exhibit A of the instant motion are

struck from the record. See Dkts. 645-5 at 14-23 (exhibit to the State’s response to the United

States’ motion for summary judgment) and 646-3 at 29-38 (exhibit to the State’s response to OCA

Plaintiffs’ motion for summary judgment). In addition, LUPE Plaintiffs respectfully request that

the Court exclude testimony by Mr. White or any other State witness about or based on non-public

information regarding investigations or prosecutions of alleged voter fraud.



Dated: September 1, 2023                      Respectfully submitted,

 /s/ Nina Perales                                  /s/ Sean Morales-Doyle
 Nina Perales (TX Bar No. 24005046)                Sean Morales-Doyle (NY Bar No. 5646641)
 Julia R. Longoria (TX Bar No. 24070166)           Patrick A. Berry (NY Bar No. 5723135)
 Fátima L. Menéndez (TX Bar No. 24090260)          Jasleen K. Singh (CA. Bar No. 316596)
 Kenneth Parreno (MA BBO No. 705747)               Eliza Sweren-Becker (NY Bar No. 5424403)
 MEXICAN AMERICAN LEGAL DEFENSE                    Andrew B. Garber (NY Bar No. 5684147)
 AND EDUCATIONAL FUND                              BRENNAN CENTER FOR JUSTICE AT
 110 Broadway, Suite 300                           NYU SCHOOL OF LAW
 San Antonio, TX 78205                             120 Broadway, Suite 1750
 Telephone: (210) 224-5476                         New York, NY 10271
 Facsimile: (210) 224-5382                         Telephone: (646) 292-8310
 nperales@maldef.org                               Facsimile: (212) 463-7308



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 jlongoria@maldef.org                            sean.morales-doyle@nyu.edu
 fmenendez@maldef.org                            patrick.berry@nyu.edu
 kparreno@maldef.org                             jasleen.singh@nyu.edu
                                                 eliza.sweren-becker@nyu.edu
 Michael C. Keats*                               andrew.garber@nyu.edu
 Rebecca L. Martin*
 Jason S. Kanterman*                             Leah J. Tulin* (MD No. 0812180236)
 FRIED, FRANK, HARRIS, SHRIVER &                 BRENNAN CENTER FOR JUSTICE AT NYU
 JACOBSON LLP                                    SCHOOL OF LAW
 One New York Plaza                              1140 Connecticut Avenue NW, Suite 1150
 New York, New York 10004                        Washington, DC 20036
 Telephone: (212) 859-8000                       (202) 650-6397
 Facsimile: (212) 859-4000                       tulinl@brennan.law.nyu.edu
 michael.keats@friedfrank.com
 rebecca.martin@friedfrank.com                   Paul R. Genender (TX Bar No. 00790758)
 jason.kanterman@friedfrank.com                  Elizabeth Y. Ryan (TX Bar No. 24067758)
 kevin.zhen@friedfrank.com                       Matthew Berde (TX Bar No. 24094379)
                                                 WEIL, GOTSHAL & MANGES LLP
 Attorneys for Plaintiffs                        200 Crescent Court, Suite 300
 LA UNIÓN DEL PUEBLO ENTERO,                     Dallas, Texas 75201
 SOUTHWEST VOTER REGISTRATION                    Telephone: (214) 746-8158
                                                 Facsimile: (214)746-7777
 EDUCATION PROJECT, MEXICAN
                                                 paul.genender@weil.com
 AMERICAN BAR ASSOCIATION OF
                                                 liz.ryan@weil.com
 TEXAS, TEXAS HISPANICS                          matt.berde@weil.com
 ORGANIZED FOR POLITICAL                         megan.cloud@weil.com
 EDUCATION, JOLT ACTION,
 WILLIAM C. VELASQUEZ INSTITUTE,                 COUNSEL FOR
 FIEL HOUSTON INC                                FRIENDSHIP-WEST BAPTIST
                                                 CHURCH, SOUTHWEST, AND
 *Admitted pro hac vice
                                                 TEXOMA, TEXAS IMPACT, JAMES
                                                 LEWIN


                                                 *Admitted pro hac vice



                            CERTIFICATE OF CONFERENCE

       I hereby certify that, on August 31, counsel for LUPE Plaintiffs conferred with counsel for

all parties concerning the subject of the instant motion. On September 1, 2023, counsel for the

State Defendants responded "State Defendants plan on abiding by the investigative privilege and

therefore agree not to solicit testimony about non-public information related to ongoing
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investigations. State Defendants disagree that we withheld information that was properly requested

by Plaintiffs and not subject to the privilege. Defendant-Intervenors responded that they oppose

the instant motion.


                                             /s/ Nina Perales
                                             Nina Perales




                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 1st day of

September 2023.


                                             /s/ Nina Perales
                                             Nina Perales
